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                          EXHIBIT 1
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            REPLY DECLARATION OF BRIAN DOCTOR, Q.C., IN SUPPORT OF
       APPLICANTS’ MOTION FOR LEAVE TO USE DISCOVERY IN AID OF ENGLISH
                                PROCEEDINGS

      I, Brian Doctor QC, of Fountain Court Chambers, London, United Kingdom, declare as

      follows:


           I.      INTRODUCTION

      1.        I am the same Brian Doctor QC who swore to a declaration dated 30 May, 2017 in

                support of Mr Vadim Shulman’s applications in the United States for permission to

                take and/or use discovery pursuant to 28 U.S.C. § 1782 to support English

                proceedings (the “English Claims”) Mr. Shulman initiated on 12 May, 2017 against

                Mr Igor Kolomoisky and Mr Gennadiy Bogolyubov (the “Defendants”) in the

                English High Court of Justice, Chancery Division (the “English Action”).

      2.        I have been provided with and have reviewed the memoranda of law filed by Panikos

                Symeou and Halliwel Assets, Inc. (collectively, the “Symeou Parties”) in support of

                their cross-motion to extend the stay currently in place in the Florida § 1782

                proceeding brought by Hornbeam Corporation and in opposition to Vadim Shulman’s

                motion to intervene in that proceeding, as well as the declarations and exhibits the

                Symeou Parties attached thereto, including the 20 July, 2017 declaration on English

                law the Symeou Parties submitted from Mr Andrew Fulton.

      3.        I make this reply declaration to further explain relevant provisions of English law and

                to respond to assertions the Symeou Parties make in their legal briefs and supporting

                declarations.

      4.        I specifically respond to Mr Fulton’s stated assumption that the discovery sought in

                the Florida proceeding is not relevant to the pending jurisdictional challenge in the

                English Action, and to Mr Fulton’s conclusion that “Mr Shulman would not suffer
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                 prejudice if he does not obtain discovery in the United States until after the

                 jurisdictional application is decided in his English proceedings.” This assumption is

                 incorrect. As explained more fully herein, discovery in the Florida § 1782 proceeding

                 may well be relevant to jurisdictional litigation in the English Action. Furthermore

                 and in any event, Mr Shulman will be placed at risk, and will therefore suffer

                 prejudice, if the Florida proceedings are stayed until after the English court resolves

                 jurisdictional issues.

           II.         THE ENGLISH ACTION JURISDICTIONAL CHALLENGE

      5.         I have reviewed the documents filed by Mr Bogolyubov in support of his jurisdiction

                 challenge in the English Action, including his witness statement dated 30 June, 2017

                 and the Expert Opinion of Professor Felix Dasser dated 3 July, 2017.            In his

                 statement, Mr Bogolyubov alleges that service of the claim was not properly effected

                 on the basis that the London address at which the relevant documents were served is

                 his former, not his current, residence. Mr Bogolyubov alleges that he moved from

                 London to Switzerland approximately two months prior to Mr Shulman issuing the

                 English Action on 12 May, 2017 and, accordingly, jurisdiction is not properly

                 grounded on the basis of service on Mr Bogolyubov's London address.

      6.         Under English law, a defendant must ordinarily be sued where he is domiciled. This is

                 a European law concept that has been enshrined into English law, which requires

                 residence with a substantial connection to the country of jurisdiction. The relevant

                 provision in this instance is Section 41A(2) of the Civil Jurisdiction and Judgments

                 Act 1982, which states that:

                 "An individual is domiciled in the United Kingdom if and only if -

                 (a)     he is resident in the United Kingdom; and
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              (b)      the nature and circumstances of his residence indicate that he has a

              substantial connection with the United Kingdom".

      7.      In order to determine whether an individual is domiciled in the court seized of the

              matter, the court will apply its internal law. In this case, the English court will apply

              the provisions set out above in the Civil Jurisdiction and Judgments Act 1982.

      8.      In order to determine whether a person is domiciled in England according to
              definition set out above, the court will consider all the circumstances. The relevant
              date on which the defendant must be domiciled in England is the date of the issue of
              proceedings (Canada Trust Co v Stolzenberg (No.2) [2002] 1 A.C. 1, HL)..
      9.      The White Book is the standard English legal text book concerning the Civil

              Procedure Rules of the English courts. The following passage deals with domicile1:

                     "Although domicile of an individual is defined in terms of “residence”, this

                     concept must be construed in accordance with its ordinary meaning and

                     connotes a settled or usual place of abode; this, in turn, requires “some degree

                     of permanence or continuity” (Bank of Dubai Ltd v Abbas [1997] I.L.Pr. 308,

                     CA). ……….For guidance as to the factors to be considered in determining

                     domicile under the recast Judgments Regulation, see Eng King Ltd v Petrillo, 4

                     May 2016, unrep. (Judge Waksman QC)."

      10.     In the case referred to, Eng King Ltd v Petrillo2, the factors the English court

              considered in determining the defendant's domicile included the following:

              (a)      the amount of time spent by the defendant in England, including for the

              purposes of visiting and staying with his children and former wife;




      1
       Practice Direction Part 6, 6JR.12
      2
       In the time available to me I do not currently have a copy of the actual judgment but am quoting from the
      summary (which I believe to be accurate) on Westlaw.
                                                             3
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            (b)    the defendant had been contactable via an English mobile telephone and an

            English landline;

            (c)    the defendant remained on the electoral roll as a resident at the former

            matrimonial home and continued to give that address on formal documents, and one

            of his companies rented office space nearby;

            (d)    the defendant had not produced any documents with a different address; and

            (e)    Russian bank statements produced in Russian proceedings were for an account

            for a non-resident and showed regular transfers to English accounts, which

            contradicted the defendant's evidence that he had no interests or assets in England ;

            and

            (f)    evidence that the defendant carried on significant business and personal

            activities in the UK.

      11.   It is clear that the English court will look at a range of factors when assessing Mr

            Bogolyubov’s links to England as part of its determination of his challenge to the

            English court’s jurisdiction. These factors would include any evidence submitted by

            Mr Shulman showing that Mr Bogolyubov has business and/or personal connections

            to England, including but not limited to information on bank account activity in

            England and any assets held in England or by English entities. I note that Mr

            Bogolyubov's Swiss legal expert, Professor Dasser, states (paragraph 31) that due to

            restrictions in Mr Bogolyubov's tax agreement with the Swiss authorities, he is

            prevented from carrying on any business activities in Switzerland. He must therefore

            carry on such activities elsewhere.




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      12.          The process for resolving a service and jurisdictional challenge such as the one filed

                   by Mr Bogolyubov is as follows. First, the party challenging service and jurisdiction

                   will file factual evidence supporting his contention that he is not domiciled in

                   England. Mr Bogolyubov filed this evidence on 3 July, 2017. This contains evidence

                   about many aspects of Mr Bogolyubov’s life and business activities.

      13.          Mr Shulman will then be entitled to file factual evidence in response, in support of his

                   allegation that Mr Bogolyubov was at the relevant time resident and domiciled in

                   England for jurisdiction purposes. I have been instructed that Mr Shulman’s deadline

                   to submit this evidence is currently under discussion between the parties.           Mr

                   Bogolyubov will then have an opportunity to file a factual reply in support of his

                   jurisdictional challenge.

      14.          Once the parties have submitted their evidence, the English court will hold a hearing,

                   at which the court will consider oral arguments and the documentary evidence

                   submitted by the parties. I understand this hearing is due to take place in the week of

                   18 December, 2017. After the hearing has concluded, the English court will consider

                   and then issue its decision on the issue of jurisdiction stating its findings as to Mr

                   Bogolyubov’s domicile and his challenge to the jurisdiction of the English courts.

            III.      RELEVANCE OF US DISCOVERY TO THE ENGLISH COURT’S
                      JURISDICTION

      15.          I have been instructed that the evidence sought in the Florida § 1782 proceeding may

                   include financial and other information that show links between Mr Bogolyubov and

                   the jurisdiction of England of which Mr Shulman is not currently aware.              Any

                   information in this regard, which Mr Shulman would put forward in evidence in

                   response to Mr Bogolyubov's challenge to jurisdiction, would form part of the suite of

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              factors to be considered by the English court as to whether Mr Bogolyubov is

              domiciled in England.

      16.     It follows that if Mr Shulman is unable to obtain U.S. discovery before jurisdictional

              challenges are resolved, Mr Shulman will be unable to use that discovery to resist

              efforts to have his English Action dismissed, and will be prejudiced.

      17.     In addition, in relation to the first defendant, Mr Kolomoisky, I have been instructed

              that service of the English Claim is currently being effected on Mr Kolomoisky at his

              home in Geneva, Switzerland. This process takes a number of months to complete

              and is on-going.

      18.     Mr Kolomoisky is stated to be resident and domiciled in Switzerland. I presume

              therefore that it will be alleged that the ground of jurisdiction entitling the English

              court to hear the case against him is that set out in Article 6 of the Lugano

              Convention, namely that he is one of a number of defendants, and may be sued in the

              courts for the place where any one of them (namely Mr Bogolyubov) is domiciled,

              provided the claims are so closely connected that it is expedient to hear and determine

              them together to avoid the risk of irreconcilable judgments resulting from separate

              proceedings.

      19.     If Mr Kolomoisky challenges the jurisdiction of the English court to hear and

              determine the case against him, he would be able to attempt to persuade the court

              hearing the jurisdiction challenge not to confirm jurisdiction on such basis, inter alia

              on the grounds that there is no serious issue to be tried between the claimant and (a)

              Mr Bogolyubov3, and (b) possibly, Mr Kolomoisky himself4. Such a challenge would


      3
       The right of a defendant to raise the strength of the case against the defendant domiciled in England (the
      anchor defendant) has recently been affirmed by a majority of the Court of Appeal in Sana Hasssib Sabbagh v
                                                            6
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                  entitle Mr Kolomoisky to raise the facts and issues in the claim itself in order to show

                  that no serious issue arises in the alleged cases against him or Mr Bogolyubov. If Mr

                  Kolomoisky files such a challenge, he would be entitled to support it with witness

                  statements and documentary or other evidence, and Mr Shulman would be entitled to

                  oppose the dismissal request by presenting evidence supporting the merits of his

                  claims. As such, if any challenge is made by Mr Kolomoisky, including any attempt

                  to have the claim struck out or dismissed on the basis that there is no serious issue to

                  be tried, again Mr Shulman would be prejudiced if he is not able to obtain disclosure

                  in this Florida proceeding that may be relevant to the determination of these issues.

            IV.      PREJUDICE TO MR SHULMAN IF US PROCEEDINGS ARE STAYED
                     UNTIL THE ENGLISH COURT RESOLVES MR BOGOLYUBOV’S
                     JURISDICTIONAL CHALLENGE IN THE ENGLISH ACTION

      20.         Mr Fulton states in his declaration that “Mr Shulman would not suffer prejudice if he

                  does not obtain discovery in the United States until after the jurisdictional application

                  is decided in his English proceedings” and that “[i]f the jurisdiction challenge were

                  dismissed in due course, then the English court would take account of the foreign

                  evidence-gathering steps when laying down the timetable to trial.” ECF 92-1 ¶¶ 8,

                  36-37. I do not believe that Mr Fulton is entitled to say that the English court would

                  take account of such steps. English law requires that the trial take place as soon as

                  practicable, and pre-trial deadlines are set accordingly.5




      Wael Khoury [2017] EWCA Civ 1120. The court there was dealing with article 6 of the Brussels Regulation
      (Regulation 44/2001). The original Brussels Regulation was applicable because the claim pre-dated the recast
      Brussels Regulation (Regulation 1215/2012), of which article 8 is in the same terms as article 6. Both are in the
      same terms as article 6 of the Lugano Convention, referred to above.
      4
        In [62 and 63] of Sana Hasssib Sabbagh v Wael Khoury, supra, the majority also threw doubt on a previous
      decision of the Court of Appeal (Joint Stock Co Aeroflot v Berezovsky [2013] EWCA Civ 784) which held that it
      was not open to a foreign defendant joined under article 6(1) to raise any questions about the merits of the case
      alleged against him. This may reflect the true position in English law.
      5
        CPR 29.2.
                                                             7
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      21.   If Mr Bogolyubov’s jurisdictional challenge is dismissed by the English court, the

            English court may set short deadlines for the completion of necessary litigation stages

            and trial, consistent with the English courts’ obligation to conduct trials in as speedy a

            manner as possible.     This includes deadlines for the parties to produce relevant

            evidence in their possession or control and expert reports, which could arise in as little

            as two to three months following the date the English court resolves the jurisdictional

            challenge.

      22.   While Mr Shulman can request that the English court order an unusually lengthy

            timetable in the English Action, or schedule the trial for a later date, he has no

            assurance that the English court will grant such a request, particularly if Mr Shulman

            is forced to seek delays in England of months or longer. In addition, Mr Shulman has

            no assurance that the Defendants will not oppose a request for a delayed trial date, or

            file their own request for an early trial date based on the argument that they are not

            responsible for the delays caused by the litigation conduct of entities or individuals in

            the U.S, whether affiliated to them or not, and that they are entitled to have the claim

            against them determined expeditiously.       As a result, it is very possible that Mr

            Shulman will have insufficient time to obtain the necessary rulings permitting

            discovery from U.S. courts, and to obtain and analyse that discovery before being

            required to present and use the discovery in the English Action.

      23.   It would be very unusual, and in my view impossible, for an English court to adjourn

            indefinitely relevant procedural deadlines for the parties to the English Action to

            present evidence and expert reports, and to adjourn indefinitely the trial date, until the

            claimant has managed to obtain relevant discovery through court process in another

            country. If Mr Shulman is unable to provide the English court with a certain date by

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            which he will receive discovery and oral evidence in Florida, Mr Shulman would face

            a considerable risk that the English court would reject a requested adjournment.


            I declare under penalty of perjury under the laws of the United States of America that

            the foregoing is true and correct.


            Executed on 2 August, 2017 in Southampton, New York.




                                                                ________________________
                                                                     BRIAN DOCTOR QC




                                                   9
